                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

UNITED STATES OF AMERICA,                      :

              Plaintiff,                       :          CASE NO. 1:20-cr-077 (1)

       vs.                                    :           JUDGE BLACK

LARRY HOUSEHOLDER,                            :

               Defendant.                      :

                           MOTION FOR LEAVE TO WITHDRAW

       David H. Thomas and Kathryn S. Wallrabenstein respectfully request this Court grant them

leave pursuant to S.D. Ohio Civ. R. 83.4(c) to withdraw as counsel for Defendant Larry

Householder in the above-captioned matter. The reasons in support of this Motion are set forth

in the following Memorandum.

                                                   Respectfully submitted,
                                                   Taft Stettinius & Hollister LLP

                                                   /s/ David H. Thomas
                                                   DAVID H. THOMAS
                                                   Ohio Supreme Court No. 0071492
                                                   P: (614) 334-6199
                                                   dthomas@taftlaw.com

                                                   /s/ Kathryn S. Wallrabenstein
                                                   KATHRYN S. WALLRABENSTEIN
                                                   Ohio Supreme Court No. 0092172
                                                   65 East State Street, Suite 1000
                                                   Columbus, Ohio 43215
                                                   P: (614) 220-0238
                                                   F: (614) 221-2007
                                                   kwallrabenstein@taftlaw.com

                                                   Counsel for Defendant
                                       MEMORANDUM

       David H. Thomas and Kathryn S. Wallrabenstein are before this Court requesting leave to

withdraw from this matter. David H. Thomas and Kathryn S. Wallrabenstein filed notices of

appearance on behalf of Defendant Larry Householder, with David H. Thomas designated as Trial

Attorney, on July 24, 2020. Since that time, undersigned counsel have become aware good cause

exists pursuant to S.D. Ohio Civ. R. 83.4(c)(2) and Prof. Cond. Rule 1.7(a)(2) that requires them

to move to withdraw from this representation.

       The definition of a conflict of interest, as set forth in the Ohio Rules of Professional

Conduct, includes:

       (a)     A lawyer’s acceptance or continuation of representation of a client creates
               a conflict of interest if either of the following applies:
       ...
               (2)     there is a substantial risk that the lawyer’s ability to consider,
                       recommend, or carry out an appropriate course of action for that
                       client will be materially limited by the lawyer’s responsibilities to
                       another client, a former client, or a third person or by the lawyer’s
                       own personal interests.

Prof. Cond. Rule 1.7(a)(2) (emphasis in original). Lawyers must not continue representing a

client if such a conflict of interest exists, unless certain criteria are met. In this matter, those

criteria are not present and undersigned counsel are prohibiting from continuing their

representation of Larry Householder in this matter. David H. Thomas’ affidavit in support of this

Motion is attached as Exhibit A. Pursuant to S.D. Ohio Civ. R. 83.4(c)(2), a copy of this Motion

has been served upon Larry Householder. Further, undersigned counsel have informed Larry

Householder of the conflict of interest identified and described in Exhibit A and withdrawal can

be accomplished without material adverse effect on the interests of the client pursuant to Prof.

Cond. R. 1.6(b)(1).




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     David H. Thomas and Kathryn S. Wallrabenstein hereby respectfully request this Court grant

them leave to withdraw from their representation of Larry Householder in this matter.

                                                    Respectfully submitted,
                                                    Taft Stettinius & Hollister LLP

                                                    /s/ David H. Thomas
                                                    DAVID H. THOMAS
                                                    Ohio Supreme Court No. 0071492
                                                    P: (614) 334-6199
                                                    dthomas@taftlaw.com

                                                    /s/ Kathryn S. Wallrabenstein
                                                    KATHRYN S. WALLRABENSTEIN
                                                    Ohio Supreme Court No. 0092172
                                                    65 East State Street, Suite 1000
                                                    Columbus, Ohio 43215
                                                    P: (614) 220-0238
                                                    F: (614) 221-2007
                                                    kwallrabenstein@taftlaw.com

                                                    Counsel for Defendant

                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing was filed with the Clerk of Court for

the United States District Court for the Southern District of Ohio using the CM/ECF system, which

will send notification of such filing to Assistant U.S. Attorneys Emily Glatfelter and Matthew

Singer, 221 E. Fourth Street, Suite 400, Cincinnati, Ohio 45202, on August 3, 2020, by electronic

mail.

        The undersigned hereby certifies that the foregoing was served upon Defendant Larry

Householder, on August 3, 2020, by regular U.S. post and email pursuant to S.D. Ohio Civ. R.

83.4(c)(2).

                                                    /s/ David H. Thomas
                                                    DAVID H. THOMAS

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